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                        IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF KANSAS

THOMAS SCHROEDER,                             )
                                              )
                      Plaintiff,              )
and                                           )
                                              )
MEDTRONIC , INC.                              )
                                              )
                      Intervenor Plaintiff,   )
                                              )
v.                                            )   Case No. 22-cv-2209-DDC-KGG
                                              )
THE UNITED STATES DEPARTMENT                  )
Of VETERANS AFFAIRS, a Federal                )
Agency,                                       )
                                              )
                      Defendant.              )


                                         EXHIBIT – A

      Laber v. Austin, No. 18-1351-JWB, 2022 WL 17361437(D. Kan. Dec. 1, 2022) Doc. 168
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                              IN THE UNITED STATES DISTRICT COURT
                                   FOR THE DISTRICT OF KANSAS

STAN LABER,

                          Plaintiff
vs.                                                      Case No. 18-1351-JWB-GEB

LLOYD J. AUSTIN, III, SECRETARY,
UNITED STATES DEPARTMENT OF
DEFENSE,

                          Defendant.


              STIPULATION OF DISMISSAL OF CHARGES 1, 3, 16, 25, AND 32
           OF PLAINTIFF’S SECOND AMENDED COMPLAINT WITH PREJUDICE

           The parties stipulate to the dismissal of the deployable positions brought in Plaintiff Stan

Laber’s Second Amended Complaint, including Charges 1, 3, 16, 25, and 32. This stipulation is

entered under the following terms:

      •    Plaintiff will not seek or recover more than $1 in compensatory damages in this lawsuit;

      •    Defendant withdraws all discovery requests served on Plaintiff in this lawsuit which seek

           Plaintiff’s medical records or medical information, including dental records and

           information; and

      •    Defendant will not seek any further discovery of Plaintiff’s medical records or medical

           information, including dental records and information, in connection with the 21 remaining

           charges in this lawsuit.

           Defendant, Lloyd J. Austin, III, Secretary, United States Department of Defense, and

Plaintiff, Stan Laber, hereby stipulate to the dismissal of Charge 1 (Vacancy Number

SWH813P6EE4770901076589R2), Charge 3 (Vacancy Number SWH814EEEHA4163821271187),

Charge 16 (Vacancy Number SWH814P60368931139189), Charge 25 (Vacancy Number


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SWH814P6EHA2994621215494), and Charge 32 (Vacancy Number SWH814EHA439681128478)

of the Plaintiff’s Second Amended Complaint (Doc. 141) with prejudice, each party to bear their

own attorney’s fees and costs.

                                           Respectfully submitted,

s/Stan Laber                               DUSTON J. SLINKARD
Stan Laber                                 Acting United States Attorney
Pro se Plaintiff
                                           s/ Christopher Allman
                                           CHRISTOPHER ALLMAN, #14255
                                           K. TYSON SHAW, PA Bar No. 314323
                                           STEVEN W. BROOKRESON, II, # 28106
                                           Assistant United States Attorneys
                                           500 State Avenue, Suite 360
                                           Kansas City, Kansas 66101
                                           (913) 551-6730 (telephone)
                                           (913) 551-6541 (facsimile)
                                           Email: Chris.Allman@usdoj.gov
                                           Email: Tyson.Shaw@usdoj.gov
                                           Email: Steven.Brookreson@usdoj.gov

                                           s/ Sarah Burch Macke
                                           SARAH BURCH MACKE, # 25948
                                           Assistant United States Attorney
                                           1200 Epic Center, 301 N. Main
                                           Wichita, Kansas 67202-4812
                                           316-269-6481 (telephone)
                                           316-269-6484 (facsimile)
                                           Email: sarah.macke@usdoj.gov




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                                  CERTIFICATE OF SERVICE

       I hereby certify that on May 20, 2021, I electronically filed the foregoing with the Clerk

of the Court by using the CM/ECF system, which will send a notice of electronic filing to all

CM/ECF participants.

       I further certify that on this date the foregoing document and the notice of electronic

filing were mailed by first-class mail to the following non-CM/ECF participants:

       Stan Laber
       321 S. Main Avenue
       Albany, NY 12209

               Pro se Plaintiff

       I further certify that on this date a courtesy copy of the foregoing document and the

notice of electronic filing were sent to Stan Laber by email to 6133164129463c@gmail.com

                                             s/ Christopher Allman
                                             CHRISTOPHER ALLMAN
                                             Assistant United States Attorney




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